Case 2:05-Cr-20083-BBD Document 30 Filed 08/30/05 Page 1 of 2 Page|D 24
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UNITED STATES OF AMERICA Wm(}

Plaintiff,
VS. CR. NO. 05-20083-D
MZONJANI KUBHEKA, a/ka
MLANDRO DLAMINI
Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on August 18, 2005, the United
States Attorney for this district, Tony Arvin, appearing for the
Government and the defendant, Mzonjani Kubheka, appearing in person and
with counsel, April Goode, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this ease is SET for FRIDAY, NOVEMBER 18, 2005, at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this theZ‘? day of August, 2005.

    
 

  

BE ICE B DONRLB
TED STATES DISTRICT COURT

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20083 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

